Case 23-10831-MFW    Doc 1042-8    Filed 03/01/24   Page 1 of 3




                         Exhibit F-2

     Blackline of Identity of Claims Ombudsman and Rates
           Case 23-10831-MFW          Doc 1042-8     Filed 03/01/24     Page 2 of 3




                                        EXHIBIT F-1

                          Identity of Claims Ombudsman and Rates

Pursuant to the Plan, the Claims Ombudsman is the person selected by the UCC and EC, with
the consent of the Debtors (such consent not to be unreasonably withheld), charged with
overseeing the tasks set forth in Article V.D of the Plan.

The Claims Ombudsman shall be Alan D. Halperin. Mr. Halperin, as Claims Ombudsman, will
be entitled to receive compensation at his normal hourly rate (as may be adjusted periodically)
and reimbursement of his reasonable and actual out-of-pocket expenses, paid by the
Post-Effective Date Debtors from the Post-Effective Date Debtor Cash. As of the date hereof,
Mr. Halperin’s hourly rate is $845.
   Case 23-10831-MFW      Doc 1042-8   Filed 03/01/24   Page 3 of 3




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Style name: 2_WC_StandardSet
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Original DMS: iw://AMERICAS_DMS/AMERICAS/126433368/1
Modified DMS: iw://AMERICAS_DMS/AMERICAS/126433368/2
Changes:
Add                                                    3
Delete                                                 0
Move From                                              0
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Table Insert                                           0
Table Delete                                           0
Table moves to                                         0
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Embedded Graphics (Visio, ChemDraw, Images etc.)       0
Embedded Excel                                         0
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